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                                                    October 19, 2023


VIA ECF and EMAIL
Hon. Analisa Torres
United States District Judge
Southern District of New York

Re:    SEC v. Ripple Labs, Inc. et al., No. 20-cv-10832 (AT) (SN) (S.D.N.Y.)

Dear Judge Torres:

Plaintiff Securities and Exchange Commission (“SEC”) respectfully notifies the Court of the
stipulated dismissal of the SEC’s pending claims against Defendants Christian Larsen and
Bradley Garlinghouse (“Individual Defendants”).

This Court’s July 13, 2023 Order (ECF No. 874) (“Order”) set for trial the SEC’s claim that the
Individual Defendants aided and abetted Ripple’s violations of Section 5 of the Securities Act of
1933 with Ripple’s “Institutional Sales” of XRP. Order at 30-34; see also ECF Nos. 884, 917.
Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties have
stipulated to the dismissal with prejudice of this claim. This voluntary dismissal obviates the
need for the scheduled trial on this claim and moots the October 3, 2023 scheduling order (ECF
No. 917).

The SEC and Ripple intend to meet and confer on a potential briefing schedule with respect to
the pending issue in the case—what remedies are proper against Ripple for its Section 5
violations with respect to its Institutional Sales of XRP—and respectfully request until
November 9, 2023 to propose such schedule to the Court or, if the parties cannot agree, to seek a
briefing schedule from the Court on a contested basis.

                                                    Respectfully submitted,


                                                    Jorge G. Tenreiro

Attachment:    Stipulation of Dismissal
cc:            Counsel for Defendants (via ECF)
